AO 245C (Rev.Case
              ) 2:18-cr-20784-PDB-APP
                     Amended Judgment in a Criminal Case         ECF No. 23 filed 07/18/19                   PageID.112
                                                                                                                   (NOTE:            Page
                                                                                                                                   Identify    1 ofwith
                                                                                                                                            Changes 9 Asterisks (*))
                     Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                               &BTUFSO%JTUSJDUPG.JDIJHBO
                UNITED STATES OF AMERICA                                       )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                     v.                                        )
                                                                               )   Case Number: 0645 2:18CR20784 (1)
                         Carlton O Bankhead                                    )
                                                                                   USM Number: 57110-039
                                                                               )
Date of Original Judgment:                                                         Steven E. Scharg
                                          (Or Date of Last Amended Judgment)
                                                                               )   Defendant’s Attorney
                                                                               )
Reason for Amendment:
                                                                               )
G   Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))
                                                                               )   G   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G   Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
                                                                               )
                                                                                   G   Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                               )
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))          )   G   Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
✔ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
G                                                                                      to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                               )
G2WKHU                                                                      )   G   Direct Motion to District Court Pursuant   G   28 U.S.C. § 2255 or

                                                                               )       G 18 U.S.C. § 3559(c)(7)
                                                                                   G   Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              5 and 28 of the Indictment
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                    Nature of Offense                                                                   Offense Ended             Count

18 U.S.C. § 1343                            Wire Fraud                                                                              11/1/2017         5



18 U.S.C. § 1028A(a)(1)                     Aggravated Identity Theft                                                              11/1/2017          28




       The defendant is sentenced as provided in pages 2 through                   9          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G                                                            ✔ are dismissed on the motion of the United States.
✔ Count(s) 1 through 4, 6 through 27, and 29 through 46 G is G
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                    7/8/2019
                                                                                   Date of Imposition of Judgment

                                                                                    s/Paul D. Borman
                                                                                   Signature of Judge
                                                                                    Paul D. Borman, U.S. District Judge
                                                                                   Name and Title of Judge
                                                                                    7/18/2019
                                                                                   Date
           Case
AO 245C (Rev. ) 2:18-cr-20784-PDB-APP
                     Amended Judgment in a Criminal Case    ECF No. 23 filed 07/18/19                PageID.113          Page 2 of 9
                      Sheet 2 — Imprisonment                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page         2     of          9
DEFENDANT: Carlton O Bankhead
CASE NUMBER: 0645 2:18CR20784 (1)

                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
 36 months on Count 5 and 24 months on Count 28 to be served consecutively, for a total term of 60 months. The costs of
incarceration are waived.



✔
G       The court makes the following recommendations to the Bureau of Prisons:
The defendant be designated to an institution with a comprehensive drug treatment program.
The defendant participate in the Residential Drug Abuse Program.
The defendant be designated to FCI Milan.

G       The defendant is remanded to the custody of the United States Marshal.

G       The defendant shall surrender to the United States Marshal for this district:
        G     at                                   G       a.m.     G    p.m.       on                                     .

        G     as notified by the United States Marshal.

✔
G       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        G     before 2 p.m. on                                              .
        ✔
        G     as notified by the United States Marshal.

        G     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                             to

at                                                         with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
           Case
AO 245C (Rev. ) 2:18-cr-20784-PDB-APP
                     Amended Judgment in a Criminal Case   ECF No. 23 filed 07/18/19           PageID.114           Page 3 of 9
                      Sheet 3 — Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment—Page        3       of         9
DEFENDANT: Carlton O Bankhead
CASE NUMBER: 0645 2:18CR20784 (1)
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
three years on Count 5 and one year on Count 28, to run concurrently. The costs of supervision are waived.




                                                   MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
. You must not unlawfully possess a controlled substance.
. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              substance abuse. (check if applicable)
. G✔ <RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
        UHVWLWXWLRQ FKHFNLIDSSOLFDEOH
. G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
. G You must comply with the requirements of the Sex Offender Registration and Notification Act (86&, et seq.) as
        directed by the probation officer, the Bureauof Prisons, or any state sex offender registration agency in WKHORFDWLRQwhHUH you
        reside, work, area student, or were convicted of a qualifying offense.(check if applicable)
. G You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
           Case
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                      Sheet 3A — Supervised Release
                                                                                                        Judgment—Page      4     of        9
DEFENDANT: Carlton O Bankhead
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                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
           Case
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                      Amended Judgment in a Criminal Case   ECF No. 23 filed 07/18/19           PageID.116           Page 5 of 9
                      Sheet 3D — Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment—Page         5      of         9
DEFENDANT: Carlton O Bankhead
CASE NUMBER: 0645 2:18CR20784 (1)


                                         SPECIAL CONDITIONS OF SUPERVISION

7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQWKHKRPHFRQILQHPHQWSURJUDPIRUDSHULRGRIBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
7KHFRVWRIHOHFWURQLFPRQLWRULQJLVZDLYHG

  ✔
7KHGHIHQGDQWVKDOOPDNHPRQWKO\SD\PHQWVRQDQ\UHPDLQLQJEDODQFHRIWKH
         ✔
UHVWLWXWLRQILQHVSHFLDODVVHVVHPHQW
DWDUDWHDQGVFKHGXOHUHFRPPHQGHGE\WKH3UREDWLRQ'HSDUWPHQWDQGDSSURYHGE\WKH&RXUW

 ✔ 7KHGHIHQGDQWVKDOOQRWLQFXUDQ\QHZFUHGLWFKDUJHVRURSHQDGGLWLRQDOOLQHVRIFUHGLWZLWKRXWWKHDSSURYDORIWKHSUREDWLRQRIILFHU
   , unless the defendDQt is in compliance with the payment schedule

  ✔
7KHGHIHQGDQWVKDOOSURYLGHWKHSUREDWLRQRIILFHUDFFHVVWRDQ\UHTXHVWHGILQDQFLDOLQIRUPDWLRQ

7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDSURJUDPDSSURYHGE\WKH3UREDWLRQ'HSDUWPHQWIRUPHQWDOKHDOWKFRXQVHOLQJ
,IQHFHVVDU\

  ✔
7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDSURJUDPDSSURYHGE\WKH3UREDWLRQ'HSDUWPHQWIRUVXEVWDQFHDEXVHZKLFKSURJUDPPD\
LQFOXGHWHVWLQJWRGHWHUPLQHLIWKHGHIHQGDQWKDVUHYHUWHGWRWKHXVHRIGUXJVRUDOFRKRO
         ✔
,IQHFHVVDU\


$GGLWLRQDO7HUPVRI6SHFLDO&RQGLWLRQV

 You must not use or possess alcohol in any consumable form, nor shall the defendant be in the social company of any
 person whom the defendant knows to be in possession of alcohol or illegal drugs or frequent an establishment where
 alcohol is served for consumption on the premises, with the exception of restaurants.

 Due to the defendant’s criminal history and the characteristics of the instant offense, the following special condition is
 imposed:

 You must submit your person, residence, office, vehicle(s), papers, business or place of employment, and any property
 under his control to a search. Such a search shall be conducted by a United States Probation Officer at a reasonable time
 and in a reasonable manner based upon a reasonable suspicion of contraband or evidence of a violation of a condition of
 release. Failure to submit to such a search may be grounds for revocation; you must warn any residents that the premises
 may be subject to searches. The probation department shall provide a request to the Court prior to any search.
           Case
AO 245C (Rev. ) 2:18-cr-20784-PDB-APP
                     Amended Judgment in a Criminal Case     ECF No. 23 filed 07/18/19                  PageID.117          Page 6 of 9
                     Sheet 5 — Criminal Monetary Penalties                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                         Judgment — Page       6        of          9
DEFENDANT: Carlton O Bankhead
CASE NUMBER: 0645 2:18CR20784 (1)
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                      JVTA Assessment*             Fine                           Restitution
TOTALS             $ 200.00                      $                           $                                 $ 57,670.53


G The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

✔ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
G
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                                           Total Loss**   Restitution Ordered Priority or Percentage
 Vehicle Accessories Attn: Charles Card, Jr., 4164 Miller Road, Flint, MI 48507
                                                                                                                   $1,100.00



 Federated Insurance Attn: Claim #371258, PO Box 486, Owatonna, MN
 55060-9989                                                                                                        $9,509.00



 American Jewelry & Loan 20450 Greenfield, Detroit, MI 48235
                                                                                                                   $5,800.00



 Detroit Jewelry & Pawn Attn: Majid Krikon, 9716 Jos. Campau, Hamtramck, MI
 48212                                                                                                             $5,500.00



 Alma Tire 1210 E Superior St., Alma, MI 48801
                                                                                                                  $23,585.54



 iPawn 21745 W. 8 Mile Road, Detroit, MI 48219
                                                                                                                   $9,500.00




TOTALS                               $                           0.00             $                57,670.53


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

✔ The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
G
      ✔ the interest requirement is waived for
      G                                                   G fine          ✔ restitution.
                                                                          G
      G the interest requirement for the          G fine         G restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
           Case
AO 245C (Rev. ) 2:18-cr-20784-PDB-APP
                     Amended Judgment in a Criminal Case      ECF No. 23 filed 07/18/19     PageID.118           Page 7 of 9
                     Sheet 5B — Criminal Monetary Penalties                                           (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page       7      of         9
DEFENDANT: Carlton O Bankhead
CASE NUMBER: 0645 2:18CR20784 (1)

                                             ADDITIONAL RESTITUTION PAYEES
                                                                                                                            Priority or
Name of Payee                                                         Total Loss*         Restitution Ordered               Percentage
D&D Truck and Trailer 105 North Brady St., Corunna,                                                    $675.99
MI 48817

Triumph Transportation 4087 9th Street, Ecorse, MI                                                   $2,000.00
48229




     * Findings for the total amount of losses are required by Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
           Case
AO 245C (Rev. ) 2:18-cr-20784-PDB-APP
                     Amended Judgment in a Criminal Case   ECF No. 23 filed 07/18/19               PageID.119           Page 8 of 9
                     Sheet 6 — Schedule of Payments                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page      8      of         9
DEFENDANT: Carlton O Bankhead
CASE NUMBER: 0645 2:18CR20784 (1)

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                  57,870.53            due immediately, balance due

          G not later than                                       , or
          ✔ in accordance with G C,
          G                                      G D,      G     E, or    ✔ F below; or
                                                                          G
B    G Payment to begin immediately (may be combined with                G C,       G D, or G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G
      See next page.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
           Case
AO 245C (Rev. ) 2:18-cr-20784-PDB-APP
                     Amended Judgment in a Criminal Case   ECF No. 23 filed 07/18/19   PageID.120      Page 9 of 9
                     Sheet 6B — Schedule of Payments                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                          Judgment—Page       9     of          9
DEFENDANT: Carlton O Bankhead
CASE NUMBER: 0645 2:18CR20784 (1)

                                           ADDITIONAL FORFEITED PROPERTY
  “Forfeiture Money Judgment: Pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28, United States
  Code, Section 2461(c), and Federal Rule of Criminal Procedure 32.2, defendant shall pay $90,282.66 in U.S. Currency
  to the United States. The Preliminary Order of Forfeiture entered by the Court on 5/10/19, ECF No. 17, is incorporated
  herein by this reference.”
